  Case
   Case1:20-cv-00177-RSK
        1:20-cv-00177-RSK ECF
                           ECFNo.
                               No.16-2, PageID.1096 Filed
                                   20, PageID.1102   Filed11/09/20
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                                UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF MICHIGAN
                                     SOUTHERN DIVISION

JOHANNA BLEEKER,                             :
                                             :         Civil No. 1:20-CV-00177
                       Plaintiff,            :
        v.                                   :         Hon. Ray Kent
                                             :         United States Magistrate Judge
ANDREW SAUL,                                 :
Commissioner of                              :
Social Security,                             :
                                             :
                       Defendant.            :

                                           JUDGMENT

        Pursuant to Federal Rule of Civil Procedure 58, judgment is hereby entered for Plaintiff,

reversing the Commissioner’s final decision and remanding this matter to the Commissioner for

further proceedings pursuant to sentence four of section 205(g), 42 U.S.C. § 405(g).

Date:        November 9, 2020

                                                         /s/ Ray Kent                   .
                                                 Ray Kent
                                                 United States Magistrate Judge
